                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

            Plaintiff,                          Case No. 1:18-CR-00401-BLW-2

      v.                                        ORDER CONTINUING
                                                SENTENCING
STEVEN TODD THOMPSON,

            Defendant.


      Finding good cause therefore


      NOW THEREFORE IT IS HEREBY ORDERED, that the motion to

continue sentencing (Dkt. 296) is GRANTED. The current sentencing date of

April 15, 2020 is VACATED. The new sentencing date shall be May 12, 2020 at

2:30 p.m. at the United States District Courthouse in Boise, Idaho.

                                  DATED: February 26, 2020



                                  B. LYNN WINMILL
                                  Chief U.S. District Court Judge




ORDER CONTINUING SENTENCING - 1
